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                        IN THE UNITED STATE DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

Lashonda Mathis,
                                                     Case No. __________
                          Plaintiff,

         vs.

Penland Automotive, LLC,

                          Defendant.


               PLAINTIFF’S ANSWERS TO LOCAL CIVIL RULE 26.01
                             INTERROGATORIES

Plaintiff, Lashonda Mathis, by and through the undersigned counsel, responds to
District of South Carolina Local Civil Rule 26.01 Interrogatories, as follows:

    A.         State the full name, address and telephone number of all persons or legal
               entities who may have a subrogation interest in each claim and state the
               basis and extent of same interest.

                  RESPONSE: None known at this time.

    B.         As to each claim, state whether it should be tried jury or non-jury and why.


                  RESPONSE: Plaintiff’s claims should be tried by jury. Plaintiff’s

                  causes of action are actions at law which are tried by a jury under
                  controlling law.

    C.         State whether the party submitting these responses is a publicly owned
               company and separately identify: (1) each publicly owned company of
               which it is a parent, subsidiary, partner, or affiliate; (2) each publicly owned
               company which owns ten percent or more of the outstanding shares or other
               indicia or ownership of the party; and (3) each publicly owned company in
               which the party owns ten percent or more of the outstanding shares.

                  RESPONSE: Plaintiff is an individual.
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 D.      State the basis for asserting the claim in the division in which it was filed (or
         the basis of any challenge to the appropriateness of the division).

            RESPONSE: This action was filed to the United States District

            Court, Division of Greenville, by Plaintiff Lashonda Mathis.

 E.      Is this action related in whole or in part to any other matter filed in this
         District, whether civil or criminal? If so, provide: (1) a short caption and the
         full case number of the related action; (2) an explanation of how the matters
         are related; and (3) a statement of the status of the related action. Counsel
         should disclose any cases which may be related regardless of whether they
         are still pending. Whether cases are related such that they should be
         assigned to a single judge will be determined by the Clerk of Court based on
         a determination of whether the cases: arise from the same or identical
         transaction, happenings or events; involve the identical parties or property;
         or for any reason would entail substantial duplication of labor if heard by
         different judges.

            RESPONSE: None.




                                            DAVE MAXFIELD, ATTORNEY, LLC


                                            s/ David A. Maxfield_________________
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                                            Attorney for Plaintiff Lashonda Mathis


      DATED: November 13, 2017

      Greenwood, South Carolina
